      Case 1:20-cv-00237-KK-SCY Document 151 Filed 06/04/21 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO


LAUREN ADELE OLIVER,

              Plaintiff,

v.                                                         Case No. 1:20-CV-00237-KK-SCY


MEOW WOLF, INC., a Delaware
Corporation; VINCE KADLUBEK,
An individual and officer; and
DOES 1-50,

              Defendants.


                                 ENTRY OF APPEARANCE

       Josh B. Ewing (Freedman Boyd Hollander Goldberg Urias & Ward, P.A.) hereby enters

his appearance as co-counsel on behalf of Plaintiff Lauren Adele Oliver.

                                                    Respectfully Submitted,

                                                    FREEDMAN BOYD HOLLANDER
                                                    GOLDBERG URIAS & WARD PA

                                                    /s/ Josh Ewing           .
                                                    VINCENT J. WARD
                                                    JOSH B. EWING
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       Case 1:20-cv-00237-KK-SCY Document 151 Filed 06/04/21 Page 2 of 2




                              CERTIFICATE OF SERVICE

       I hereby certify that on June 4, 2021, I filed the foregoing document electronically

through the CM/ECF system, which caused all counsel of record to be served by electronic

means, as more fully reflected in the Notice of Electronic Filing.



                                                     _/s/Josh B. Ewing____________________
                                                     Josh B. Ewing




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